
5 N.Y.2d 961 (1959)
Arlene Marcus, an Infant, by Her Guardian ad Litem, Samuel B. Marcus, Respondent,
v.
London &amp; Lancashire Indemnity Company of America, Appellant.
Court of Appeals of the State of New York.
Argued January 12, 1959.
Decided February 26, 1959.
James D. Maher and Warren W. Wells for appellant.
Harold Weiss for respondent.
Concur: Chief Judge CONWAY and Judges DESMOND, DYE, FULD, FROESSEL, VAN VOORHIS and BURKE.
Order affirmed, with costs. Question certified answered in the affirmative. No opinion.
